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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 In re
                                                              Case No: 17-10892-smb
  LOAAI AL-AKWAA,

                                 Debtor(s)

  SAMA'A AL-HAMDANI                                           Adv. Proc No.: 17-01092-smb

                    Plaintiff,
        -against                                              AFFIDAVIT OF SERVICE

  LOAAI AL-AKWAA

             Defendant.
  STATE OF NEW YORK )
                        ) ss.:
  COUNTY OF NEW YORK)

  DEYANITH SKRIP, being duly sworn, deposes and says

  1.   I am not a party to the action, am over 18 years of age and reside in Richmond County,
  New York.

  2.     I certify that on the 11th day of October 2017, I served Debtor’s Amended Motion for
  an Order to Vacate the Order and Judgment Dated September 12, 2017 by depositing a true
  copy thereof in a post-paid properly addressed sealed envelope by overnight delivery, in a
  depository within New York City and State under the exclusive care and custody of FedEx,
  addressed to the following person at the last known address of the addressee as follows:
  Sama'a Al-Hamdani
  1924 8th Street NW
  Apt 616
  Washington, DC 20001
                                                               /s/Deyanith Skrip __
                                                               Deyanith Skrip
 Sworn to before me this
 11th day of October, 2017

 /s/Julio E. Portilla__________
 NOTARY
 No. 02PO6252910
 Qualified in New York County
 Commission Expires 12/12/2019
